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MANN WYATT TANKSLEY
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(620) 662-2400
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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

Q.R. a minor, by and through his natural      )
mother and next friend JANE DOE,              )
                                              )
                Plaintiff,                    )
                                              )
v.                                            ) Case No.: 6:25-cv-01096
                                              )
TITAN WEBSITES, INC.,                         )
                                              )
and,                                          )
                                              )
JOHN DOE D/B/A HENTAICITY.COM,                )
                                              )
                Defendants.                   )
                                              )

                         DISCLOSURE STATEMENT OF PLAINTIFF

         Pursuant to Rule 7.1(a)(2), Plaintiff Q.R., a minor, by and through his natural mother and

next friend Jane Doe, states that he is an individual who is a citizen of the State of Kansas. He is

domiciled in Olathe, Johnson County, Kansas. He resides with his mother Jane Doe, an individual

who is also a Kansas citizen domiciled in Olathe, Johnson County, Kansas.

                                                         Respectfully submitted,

                                                          /s/Joshua W. Ruhlmann
                                                         Michael J. Wyatt       (#23260)
                                                         Joshua W. Ruhlmann     (#29778)
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on June 24, 2025, the foregoing disclosure was filed electronically.
Notice of this filing will be sent to all parties by operation of the Court’s electronic filing system.

                                                        /s/Joshua W. Ruhlmann
                                                        Joshua W. Ruhlmann




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